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11   JEFF SCOTT and ERIC EICHINGER
12                           UNITED STATE DISTRICT COURT
13                       NORTHERN DISTRICT OF CALIFORNIA
14

15   FRANK HAN,                                  CASE NO.:
16                                               DECLARATION OF TARA PALESH IN
                        Plaintiff,
                                                 SUPPORT OF NOTICE OF REMOVAL
17
           vs.                                   OF ACTION TO THE UNITED
18                                               STATES DISTRICT COURT FOR THE
     PFIZER INC.; a Delaware corporation;
                                                 NORTHERN DISTRICT OF
19   TARA PALESH, an individual; JEFF
                                                 CALIFORNIA PURSUANT TO 28
     SCOTT, an individual; ERIC
20                                               U.S.C. §§ 1332, 1441
     EICHINGER, an individual and DOES
21   1 through 100, inclusive,
                                                 State Court Complaint Filed: April 25, 2023
22                      Defendants.              Trial Date:      Not Set
23

24                           DECLARATION OF TARA PALESH
25         I, Tara Palesh, hereby declare as follows:
26         1.    I have personal knowledge of the facts set forth in this Declaration and, if
27   called as a witness, could and would testify competently to such facts under oath. I have
28
     CASE NO.:                                   1      DECLARATION OF TARA PALESH IN SUPPORT
                                                        OF NOTICE OF REMOVAL OF ACTION TO THE
                                                          UNITED STATES DISTRICT COURT FOR THE
                                                              NORTHERN DISTRICT OF CALIFORNIA
               Case 3:23-cv-03908-AMO Document 1-1 Filed 08/04/23 Page 2 of 2




          been employed with Pfizer Inc. (“Pfizer”), since March 2010, in which capacity I am
          presently employed as a Senior Director, Global Analytics Lead.
  NH




                2.        Lamcurrently domiciled in New York, New York. I have lived and worked in
  WY




          New York, New York since approximately March 2010. My personal mail is sent to an New
  FSF




          York address.
  HW




                3.        At the time Plaintiff Frank Han filed his Complaint in Superior Court of the
  HD




          State of California, County of San Francisco with Case No. CGC-23-606080, I was already
  NSN




          domiciled in New York, New York.
  ©




          I declare under penalty of perjury and under the laws of the United States and California
  om




          that the foregoing is true and correct to the best of my knowledge and belief.
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           CASE NO.:                                      2     DECLARATION OF TARA PALESH IN SUPPORT
                                                                 OF NOTICE OF REMOVAL OF ACTION TO THE
                                                                   UNITED STATES DISTRICT COURT FOR THE
                                                                       NORTHERN DISTRICT OF CALIFORNIA
